Case
 Case2:16-cr-00030-JAD-CWH
       2:16-cr-00030-JAD-CWH Document
                             Document162  Filed12/09/16
                                      160 Filed 12/12/16 Page
                                                          Page11
                                                               ofof
                                                                  44
Case
 Case2:16-cr-00030-JAD-CWH
       2:16-cr-00030-JAD-CWH Document
                             Document162  Filed12/09/16
                                      160 Filed 12/12/16 Page
                                                          Page22
                                                               ofof
                                                                  44
Case
 Case2:16-cr-00030-JAD-CWH
       2:16-cr-00030-JAD-CWH Document
                             Document162  Filed12/09/16
                                      160 Filed 12/12/16 Page
                                                          Page33
                                                               ofof
                                                                  44
Case
 Case2:16-cr-00030-JAD-CWH
       2:16-cr-00030-JAD-CWH Document
                             Document162  Filed12/09/16
                                      160 Filed 12/12/16 Page
                                                          Page44
                                                               ofof
                                                                  44




                                                     January 30, 2017 at 11:00 a.m.



       DATED this 12th day of December, 2016.
